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United j
UNITED STATES DISTRICT COURT MAY 97>
SOUTHERN DISTRICT OF TEXAS c0tt
MCALLEN DIVISION David J. Bradley, Clerk
UNITED STATES OF AMERICA §
§
VS. § CRIMINAL ACTION NO. M-11-398
§
ISRAEL AVILA §
SPECIAL VERDICT
WE, THE JURY, FIND:
THE DEFENDANT, ISRAEL AVILA,
Ay | \4 \A as to Count 1, as charged in the indictment;
(Insert “GuiltyJ or “Not Guilty”’)
Cy ini | 4 A as to Count 2, as charged in the indictment;

 

(Insert “Guilty? or “Not Guilty”)
If you find the defendant not guilty as to Count 2, please answer the following:
Do you find beyond a reasonable doubt that the defendant knowingly possessed a
controlled substance that was in fact marijuana?
(Insert “Yes” or “No”’)

QO Wl 4 A as to Count 3, as charged in the indictment.
(Insert “Guilty) or “Not Guilty’’)

 

S/F] |)
~ FOREPERSON’S SIGNATURE DATE
